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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


RALPH CALVERT,                           }
                                         }
      Plaintiff,                         }
                                         }
v.                                       }   Case No.: 2:18-CV-1108-MHH
                                         }
XTRA LEASE, LLC and KRISTIE              }
LAHUE,                                   }
                                         }
      Defendants.                        }


                     MEMORANDUM OPINION AND ORDER

I.    Introduction and Procedural History

      On June 15, 2018, plaintiff Ralph Calvert filed this premises liability action

against defendants XTRA Lease, LLC and Kristie Lahue in the Circuit Court of

Jefferson County, Alabama. (Doc. 1-1, p. 3). Mr. Calvert sued Ms. Lahue in her

capacity as the branch manager of XTRA’s operations in Birmingham. (Doc. 1-1,

p. 4, ¶ 5). The case concerns an accident that occurred on XTRA’s property in

May 2017.

      Mr. Calvert contends that on May 4, 2017, he visited XTRA’s premises on

behalf of his employer, Birmingham Mobile Fleet Service, to repair one of

XTRA’s tractor/trailer units. (Doc. 1-1, p. 4, ¶ 5). Mr. Calvert used a rolling

staircase to access higher parts of the tractor.    (Doc. 1-1, p. 4, ¶ 5). In his
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complaint, Mr. Calvert alleges that “XTRA provided” the rolling staircase. (Doc.

1-1, p. 4, ¶ 5). According to Mr. Calvert, while he was on the staircase, the

staircase’s wheels unexpectedly started to roll, and he fell and suffered “significant

permanent injuries.” (Doc. 1-1, p. 4, ¶¶ 5-6). Mr. Calvert contends that the

staircase was unsafe because it “was not equipped with proper safety devices to

prevent it from rolling during use,” and the “[d]efendants failed to inform” him

“that the staircase was not safe for use.” (Doc. 1-1, p. 4, ¶ 5).

      On July 19, 2018, the defendants removed the case on the basis of diversity

jurisdiction under 28 U.S.C. § 1332(a). (Doc. 1). On August 17, 2018, Mr.

Calvert moved to remand. (Doc. 10). For the reasons explained below, the Court

denies Mr. Calvert’s motion.

II.   Analysis

      For federal jurisdiction to exist under 28 U.S.C. § 1332(a), there must be

complete diversity of citizenship, and the amount in controversy must exceed

$75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a); Underwriters at

Lloyd’s, London v. Osting-Schwinn, 613 F.3d 1079, 1085 (11th Cir. 2012).

“[D]iversity jurisdiction is determined at the time of filing the complaint or, if the

case has been removed, at the time of removal.” PTA–FLA v. ZTE USA, Inc., 844

F.3d 1299, 1306 (11th Cir. 2016). Generally, when jurisdiction is lacking because,

for example, a defendant is a citizen of the state in which the plaintiff filed suit,


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then a district court must remand the action to state court.                  “However, if a

defendant shows that ‘there is no possibility the plaintiff can establish a cause of

action against the resident defendant,’ then the plaintiff is said to have fraudulently

joined the non-diverse defendant. In that situation, the federal court must dismiss

the non-diverse defendant and deny any motion to remand the matter back to state

court.” Florence v. Crescent Resources, Inc., 484 F.3d 1293, 1297 (11th Cir.

2007) (quoting Henderson v. Washington Nat. Ins. Co., 454 F.3d 1278, 1281 (11th

Cir. 2006)) (footnote omitted); Henderson, 454 F.3d at 1281 (“When a plaintiff

names a non-diverse defendant solely in order to defeat federal diversity

jurisdiction, the district court must ignore the presence of the non-diverse

defendant and deny any motion to remand the matter back to state court.”).

       In his motion to remand, Mr. Calvert argues that the parties are not

completely diverse because both he and Ms. Lahue, the individual defendant, are

citizens of Alabama. (Doc. 10, p. 1).1 XRTRA urges the Court to disregard Ms.

Lahue’s citizenship.       XTRA argues that Mr. Calvert joined Ms. Lahue as a

defendant for the sole purpose of defeating federal jurisdiction. (Doc. 1, p. 4).


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  Mr. Calvert does not challenge XTRA’s contention that more than $75,000 is in controversy in
this action. It is facially apparent from Mr. Calvert’s complaint that he seeks more than $75,000
in damages. Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir. 2001). Mr. Calvert seeks
compensatory damages for lost wages, significant permanent injuries, substantial medical
expenses, and extreme pain and suffering. (Doc. 1, ¶ 38; see also Doc. 1-1, p. 4, ¶ 6). Mr.
Calvert also seeks punitive damages. (Doc. 1, ¶ 39; see also Doc. 1-1, p. 5, ¶ 14). These
allegations are sufficient to meet § 1332’s amount in controversy threshold.

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      A federal court may disregard the citizenship of a defendant for purposes of

diversity jurisdiction when “(1) there is no possibility the plaintiff can establish a

cause of action against the resident defendant; or (2) the plaintiff has fraudulently

pled jurisdictional facts to bring the resident defendant into state court.” Crowe v.

Coleman, 113 F.3d 1536, 1538 (11th Cir. 1997) (citation omitted). The removing

party has the burden of proving fraudulent joinder. 113 F.3d at 1538. “The

defendant must make such a showing by clear and convincing evidence.”

Henderson, 454 F.3d at 1281. XTRA has established by clear and convincing

evidence that Mr. Calvert pleaded incomplete and misleading facts and that Mr.

Calvert cannot establish a cause of action against the resident defendant under

Alabama law.

      Mr. Calvert asserts three counts in his complaint: negligence, wantonness,

and negligent hiring, training, and supervision. (Doc. 1-1, pp. 4-6). “To prevail on

his negligence and wantonness claims, [Mr. Calvert] must show, among other

things, that [XTRA] owed him a duty. See Kendrick v. Alabama Power Co., 601

So. 2d 912, 914 (Ala. 1992).” Calloway v. PPG Industries, Inc., 155 Fed. Appx.

450, 452 (11th Cir. 2005). The scope of the duty that XTRA owed to Mr. Calvert

hinges on the nature of the relationship between Mr. Calvert’s employer, BMFS,

and XTRA, the owner of the premises where Mr. Calvert was injured.




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      The Alabama Supreme Court recently reiterated the contours of a premises

owner’s duty to an employee of an independent contractor under Alabama law,

stating:

             A premises owner’s legal duty to a party injured by a condition
      of the premises depends upon the legal status of the injured party.
      Galaxy Cable, Inc. v. Davis, 58 So. 3d 93, 98 (Ala. 2010). In this
      case, Benito Perez was on SAB’s premises to confer a material or
      commercial benefit to SAB. Accordingly, the relationship between
      SAB, the premises owner, and Benito Perez, a roofer, is that of
      invitor/invitee. See Ex parte Mountain Top Indoor Flea Mkt., Inc.,
      699 So. 2d 158, 161 (Ala. 1997) (“ ‘In order to be considered an
      invitee, the plaintiff must have been on the premises for some purpose
      that materially or commercially benefited the owner or occupier of the
      premises.’ ” (quoting Sisk v. Heil Co., 639 So. 2d 1363, 1365 (Ala.
      1994))).

             Alabama law is well-settled regarding the scope of the duty an
      invitor owes a business invitee. “The owner of premises owes a duty
      to business invitees to use reasonable care and diligence to keep the
      premises in a safe condition, or, if the premises are in a dangerous
      condition, to give sufficient warning so that, by the use of ordinary
      care, the danger can be avoided.” Armstrong v. Georgia Marble Co.,
      575 So. 2d 1051, 1053 (Ala. 1991) (emphasis added). We have said
      that a premises owner’s duty to warn extends only to “hidden defects
      and dangers that are known to [the premises owner], but that are
      unknown or hidden to the invitee.” Raspilair v. Bruno’s Food Stores,
      Inc., 514 So. 2d 1022, 1024 (Ala. 1987). More specifically, we have
      explained that a plaintiff must establish “ ‘(1) that the defect or danger
      was “hidden”; (2) that it was “known to the owner”; and (3) that it
      was “neither known to the contractor, nor such as he ought to know.”
      ’ ” Roberts v. NASCO Equip. Co., 986 So. 2d 379, 384 (Ala. 2007)
      (quoting Ex parte Meadowcraft Indus., Inc., 817 So. 2d 702, 706 (Ala.
      2001), quoting in turn Glenn v. United States Steel Corp., 423 So. 2d
      152, 154 (Ala. 1982)).

                     “In discussing a premises owner’s liability towards
               an independent contractor, this Court has recognized that
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      an ‘ “ ‘owner of premises is not responsible to an
      independent contractor for injury from defects or dangers
      which the contractor knows of, or ought to know of.’ ” ’ ”

986 So. 2d at 383 (quoting Veal v. Phillips, 285 Ala. 655, 657–58, 235
So. 2d 799, 802 (1970)). See also Quillen v. Quillen, 388 So. 2d 985,
989 (Ala. 1980) (to the same effect).

       This Court has elaborated on the nature of a premises owner’s
duty to a business invitee as follows:

             “ ‘ “ ‘The duty to keep an area safe for invitees is
      limited to hidden defects which are not known to the
      invitee and would not be discovered by him in the
      exercise of ordinary care. All ordinary risks present are
      assumed by the invitee, and the [invitor] is under no duty
      to alter the premises so as to [alleviate] known and
      obvious dangers. The [invitor] is not liable to an invitee
      for an injury resulting from a danger that was obvious or
      that should have been observed in the exercise of
      reasonable care.’ ” ’ ”

Jones Food Co. v. Shipman, 981 So. 2d 355, 362 (Ala. 2006) (quoting
Sessions v. Nonnenmann, 842 So. 2d 649, 651–52 (Ala. 2002),
quoting in turn Breeden v. Hardy Corp., 562 So. 2d 159, 160 (1990)
(bracketed language in original; some emphasis omitted)). Of
particular importance to this case, the Court in Jones Food then stated:

             “ ‘ “ ‘The entire basis of an invitor’s liability rests
      upon his superior knowledge of the danger that causes
      the invitee’s injuries. If that superior knowledge is
      lacking, as when the danger is obvious, the invitor cannot
      be liable.’ ” ’ ”

981 So. 2d at 362 (quoting Sessions v. Nonnenmann, 842 So. 2d at
651–52, quoting in turn Breeden v. Hardy Corp., 562 So. 2d at 160
(emphasis added)). And as to an independent contractor in particular,
we have explained: “ ‘ “There is no duty to warn” ... an independent
contractor “who has equal or superior knowledge of a potential
danger.” Roberts, 986 So. 2d at 383–84 (quoting Fielder v. USX
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Corp., 726 So. 2d 647, 650 (Ala. 1998), quoting in turn Alabama
Power Co. v. Williams, 570 So. 2d 589, 592 (Ala. 1990) (emphasis
added)).

      In Gray v. Mobile Greyhound Park, Ltd., 370 So. 2d 1384 (Ala.
1979) this Court took note of these same fundamental precepts, as set
out in Corpus Juris Secundum, to explain what the Court referred to
as the “no-duty” rule applicable to a premises owner that lacks
“superior knowledge” of a danger:

      “Th[e] absence of duty is commonly referred to as the
      ‘no duty’ rule and has been thoroughly discussed in 65
      C.J.S. Negligence § 63(53), at pages 764–68, as follows:

                   “ ‘. . . .

                    “ ‘The basis of the inviter’s liability
             for injuries sustained by the invitee on the
             premises rests on the owner’s superior
             knowledge of the danger, and, as a general
             rule, he is not liable for an injury to an
             invitee resulting from a danger which was
             known to the invitee or which was obvious
             or should have been observed by the invitee
             in the exercise of reasonable care, or from a
             condition which was as well known or as
             obvious to the invitee as to the inviter, or
             from a danger which the invitee should
             reasonably have appreciated before exposing
             himself to it, or which the inviter had no
             reason to believe would not be discovered
             by the invitee.’ ”

370 So. 2d at 1388 (emphasis added); accord General Motors Corp. v.
Hill, 752 So. 2d 1186, 1187 (Ala. 1999) (“ ‘[A]n invitor is not liable
for injuries to an invitee resulting from a danger that was known to the
invitee or that the invitee should have observed through the exercise
of reasonable care.’ ” (quoting Ex parte Industrial Distribution Servs.
Warehouse, Inc., 709 So. 2d 16, 19 (Ala. 1997))).


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            As indicated by the “ought to know” and “should have known”
     aspects of the standard quoted above, the duty of a premises owner is
     measured by an objective standard, not the subjective state of the
     invitee’s knowledge. The question is what was objectively reasonable
     for the invitor to expect the invitee to know. “As discussed in
     Sessions [v. Nonnenmann, 842 So. 2d 649 (Ala. 2002) ], the question
     is whether the danger should have been observed, not whether in fact
     it was consciously appreciated....” Jones Food, 981 So. 2d at 362.
     ...

     The premises owner is not an insurer of his premises and, by the same
     token, is not an insurer of the acts or omissions of the contractors it
     brings onto its premises. The existence of a duty on the part of the
     premises owner to an employee of such a contractor depends, then, on
     what information the premises owner reasonably could have expected
     that contractor to have known and acted upon.

South Alabama Brick Co., Inc. v. Carwie, 214 So. 3d 1169, 1175-77, 1178

(Ala. 2016). The Alabama Supreme Court stated unequivocally:

     Where a premises owner can reasonably expect that its contractor
     knows as much or more than the premises owner does regarding a
     dangerous condition—whether this is so because the danger is open
     and obvious to anyone, because the owner has told the contractor all it
     knows, or because of the contractor’s expertise and previous
     experience on the premises—the superiority-of-knowledge test is not
     met and the premises owner has no further duty to warn the
     contractor. By extension, in that circumstance, the premises owner
     has no additional, direct duty to warn the contractor’s employees or
     any subcontractors. To hold otherwise would be to say that a
     premises owner, despite hiring a contractor whom the owner, for one
     of the reasons stated above, reasonably expects knows as much o[r]
     more about the owner’s land, building, or fixtures as does the
     premises owner, must somehow “pull aside” or otherwise
     communicate directly with each and every employee of the contractor,
     subcontractor, employee of any subcontractor, etc. Obviously, at the
     point at which the contractor knows as much or more as does the
     premises owner regarding the land, building, or fixtures, the


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      responsibility for sharing that information with its own employees or
      with subcontractors falls to the contractor.

Carwie, 214 So. 3d at 1178-79 (holding as a matter of Alabama law that the

premises owner in that case “reasonably could have expected” the contractor to

have “at least as much knowledge as did” the owner about the alleged dangerous

condition on the premises).

      Here, it is undisputed that Mr. Calvert’s employer, BMFS, is an independent

contractor of XTRA that provides service to XTRA under a maintenance vendor

agreement. (Doc. 1-1, p. 4; Doc. 1-2, p. 2, ¶ 3; Doc. 1-4). In his complaint, Mr.

Calvert alleges that “XTRA provided [him] with a rolling staircase for him to use

to gain access to parts of the tractor/trailer that could not be accessed from ground

level.” (Doc. 1-1, p. 4, ¶ 5). The Court ordinarily would infer from that allegation

that the premises owner owned and controlled the rolling staircase. But what Mr.

Calvert failed to mention in his complaint, and what XTRA has proven by clear

convincing evidence, is that Mr. Calvert’s employer owned the rolling staircase,

not XTRA. (Doc. 1-2, p. 3, ¶ 6).

      Mr. Calvert does not say otherwise in his motion to remand. Instead, Mr.

Calvert argues that because the staircase “remained on the Xtra Lease premises,”

XTRA and Ms. Lahue breached a duty to him because they “failed to take any

reasonable precaution to make sure the equipment could be used safely on



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[XTRA’s] premises.” (Doc. 10, p. 4). Without citing authority from the Alabama

Supreme Court or the Alabama Court of Civil Appeals, Mr. Calvert asserts:

      Does a Branch Manager owe a duty to make sure that there are no
      dangers on the premises? Of course. Does a Branch Manager owe a
      duty to take reasonable precaution to make sure that any equipment on
      the premises is in good working order and equipped with proper
      safeguarding apparatus? Of course. Does a Branch Manager owe a
      duty to make sure that all workers on the premises, whether
      employees or independent contractors, are furnished with safe
      equipment to perform their work. Of course.

(Doc. 10, p. 4).

      Mr. Calvert’s theory, then, is that in her capacity as branch manager of

XTRA’s premises, Ms. Lahue had a duty to inspect and repair equipment

belonging to Mr. Calvert’s employer, BMFS, and to make sure that BMFS

provided safe equipment to its employees. Mr. Calvert cannot possibly establish a

cause of action against Ms. Lahue under Alabama law for two reasons. First, in

the context of a premises owner/independent contractor relationship, a duty, if one

exists, runs from the premises owner to an employee of the independent contractor.

The Court has found no Alabama authority for the proposition that an employee of

a premises owner owes a general duty to an employee of an independent

contractor.   For such a duty to exist, the owner’s employee would have to

voluntarily undertake such a duty, and Mr. Calvert does not allege a voluntary

undertaking. See Gibson v. Merrifield, 964 So. 2d 430 (Ala. Ct. Civ. App. 2007);

Kitchens By nad Through Kitchens, 604 F. Supp. 531 (M.D. Ala. 1985) (applying
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Alabama law). Second, as established in the lengthy discussion in Carwie, under

Alabama law, a premises owner does not owe a duty to the employee of an

independent contractor when the premises owner reasonably may expect the

contractor to have “at least as much knowledge” of an allegedly dangerous

condition as the owner. That objective test certainly is met where the alleged

dangerous condition exists in the contractor’s equipment.

       Because Mr. Calvert cannot possibly establish a cause of action against Ms.

Lahue, the Court finds that she is fraudulently joined. The Court will disregard

Ms. Lahue’s citizenship for the purposes of the jurisdictional analysis in this case.

The Court may exercise jurisdiction over this case if Mr. Calvert and XTRA are

completely diverse. In its removal petition, XTRA states:

      2.   Plaintiff Ralph Calvert correctly pointed out that Defendant
      XTRA Lease LLC (hereinafter, “XTRA”) is not a citizen of Alabama;
      more specifically, it is a Delaware limited liability company
      headquartered in Missouri. See Exhibit 1, pg. 2, ¶ 2.


(Doc. 1, ¶ 2). This statement does not establish XTRA’s citizenship for diversity

purposes.2 With respect to an unincorporated entity, “diversity jurisdiction in a

suit by or against the entity depends on the citizenship of all the members” of the


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  Courts have an “independent obligation to determine whether subject-matter
jurisdiction exists, even in the absence of a challenge from any party.” Arbaugh v.
Y & H Corp., 546 U.S. 500, 514 (2006) (citing Ruhgras AG v. Marathon Oil Co.,
526 U.S. 574, 583 (1999)).

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entity. Carden v. Arkoma Assocs., 494 U.S. 185, 195-96 (1990); see also Rolling

Greens MHP, L.P. v. Comcast SCH Holdings, LLC, 374 F.3d 1020, 1021 (11th

Cir. 2004). Therefore, the information in the notice of removal does not allow the

Court to confirm that diversity of citizenship exists.

       Under 28 U.S.C. § 1653, “[d]efective allegations of jurisdiction may be

amended, upon terms, in the trial or appellate courts.” Consequently, the Court

gives XTRA 30 days to amend its citizenship allegations to identify the citizenship

of all of the members of the LLC. XTRA must decompose all of the members of

XTRA Lease LLC until only individuals and/or corporations remain, and XTRA

must properly allege the citizenship of those individuals and/or corporations.

III.   Conclusion

       For the reasons discussed above, the Court finds Mr. Calvert has

fraudulently joined Ms. Lahue.       Therefore, the Court dismisses Mr. Calvert’s

claims against her and denies Mr. Calvert’s motion to remand. If XTRA does not

correct its citizenship allegations within 30 days, then the Court will remand this

action to state court.

       DONE and ORDERED this 21st day of December, 2018.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE



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